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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               )      CRIM NO. 21-CR-126-BAH
TROY FAULKNER,                                 )      Judge: Howell
                                               )
               Defendant.                      )       Sentencing Date: 11/3/22


                        MOTION TO AMEND SENTENCE

       COMES NOW Troy Faulkner, by and through counsel, and moves to

amend his sentence. As reasons therefor, defendant states as follows:

      1.      On November 3, 2022, Mr. Faulkner was sentenced by this Honorable

Court to five months incarceration. In addition, Mr. Faulkner was ordered to pay

$10,560.00 in restitution to the Architect of the Capitol and a special assessment of

$100.00, as part of the sentence. This total payment of $10,660.00 is currently due

December 3, 2022.

      2.      At the time of sentencing, Mr. Faulkner was granted the option to self-

report at such time as he is notified by the Probation Office. Accordingly, it is Mr.

Faulkner’s understanding that he will be reporting at some time in the next few

months to serve his incarceration sentence.

      3.      Mr. Faulkner had saved enough money to make the payment he was
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required to make for restitution at the time of sentencing. At the time of sentencing,

Mr. Faulkner had hoped to be able to be sentenced to probation or a sentence which

would allow him to continue his employment. However, the court sentenced him to

a sentence which includes straight incarceration that does not allow for Mr.

Faulkner to continue his employment during this time. Accordingly, Mr. Faulkner

and his girlfriend will not have sufficient money saved to pay for necessities such

as mortgage, utilities, and other home expenses while he is incarcerated for several

months if he is required to pay the amount due by the current date.

        4.       Accordingly, Mr. Faulkner respectfully requests that the court amend

the sentence in either one of two ways. First, Mr. Faulkner requests that the court

consider amending the sentence so that he may serve home confinement which

would allow him to leave the home for purposes of verified employment.1 If that

option does not remain acceptable, then Mr. Faulkner respectfully requests that the

full payment be due within one year of sentencing. If the court wishes, Mr.

Faulkner would be amenable to making twelve (12) monthly payments of $888.34,

which will be manageable for budgeting purposes to include his time in

incarceration. Either (or both) of these options is amenable to Mr. Faulkner.


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  Mr. Faulkner understands that this first request was requested in the sentencing memorandum and repeated at the
time of sentencing and was summarily rejected by the court. However, Mr. Faulkner is submitting this request again,
as the issues of the effect on his home family situation and expenses was not specifically raised at the time of
sentencing.
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      5.      Undersigned counsel has spoken to AUSA Cole, who has indicated

that the government opposes the motion.




                                      Respectfully submitted,

                                      TROY FAULKNER
                                      By Counsel


                                         /s/ John L. Machado
                                      John L. Machado, Esq.
                                      Bar No. 449961
                                      Counsel for Troy Faulkner
                                      503 D Street, N.W., Suite 310
                                      Washington, DC 20001
                                      Telephone: (703) 989-0840
                                      E-mail: johnlmachado@gmail.com




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                             Certificate of Service

 I hereby certify that a true copy of the foregoing was electronically filed with
  the Clerk of the Court using the CM/ECF system this 8th day of November,
2022, which will send a notification of such filing (NEF) to the following to all
                                counsel of record.

       /s/John L. Machado
    John L. Machado, Esq.
    Bar Number 449961
    Attorney for Troy Faulkner
    Law Office of John Machado
    503 D Street NW, Suite 310
    Washington, D.C. 20001
    Telephone (703)989-0840
    Email: johnlmachado@gmail.com




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